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 7
                               UNITED STATES DISTRICT COURT
 8                                  DISTRICT OF NEVADA

 9 UNITED STATES OF AMERICA,                       2:19-CR-136-KJD-BNW

10                Plaintiff,                       Preliminary Order of Forfeiture

11         v.

12 DANIELLE LACHARIS BUCK,
   aka DANIELLE LACHARIS LAKEY,
13
             Defendant.
14

15         This Court finds Danielle Lacharis Buck, aka Danielle Lacharis Lakey, pled guilty to

16 Counts 2 and 10 of a 13-Count Criminal Indictment charging her in Count 2 with mail

17 fraud in violation of 18 U.S.C. § 1341 and in Count 10 with aggravated identity theft in

18 violation of 18 U.S.C. § 1028A(a)(1) with 1028A(c)(5). Criminal Indictment, ECF No. 1;

19 Plea Agreement, ECF No.48; Change of Plea, ECF No.46

20         This Court finds Danielle Lacharis Buck, aka Danielle Lacharis Lakey, agreed to the

21 forfeiture of the property and the imposition of the in personam criminal forfeiture money

22 judgment set forth in the Plea Agreement, the Bill of Particulars, and Forfeiture Allegation

23 One of the Criminal Indictment. Criminal Indictment, ECF No. 1; Bill of Particulars, ECF

24 No. 17; Change of Plea, ECF No. 46; Plea Agreement, ECF No. 48.

25         This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States

26 of America has shown the requisite nexus between property set forth in the Plea Agreement,

27 the Bill of Particulars, and Forfeiture Allegation One of the Criminal Indictment and the

28 offenses to which Danielle Lacharis Buck, aka Danielle Lacharis Lakey, pled guilty.
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 1             The following property and money judgment are any property, real or personal,

 2   which constitutes or is derived from proceeds traceable to violations of 18 U.S.C. §§ 1341

 3   and 1028A(a)(1) with 1028A(c)(5), specified unlawful activities as defined in 18 U.S.C. §§

 4   1956(c)(7)(A) and 1961(1)(B), or a conspiracy to commit such offenses and are subject to

 5   forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) with 28 U.S.C. § 2461(c) and 21 U.S.C. §

 6   853(p):

 7             1. any and all fraudulent identification documents including, but not limited to at

 8                least:

 9                    a. names, dates of birth, and social security numbers of C.B., D.C., J.S.,

10                         K.A., K.J., M.E.G., M.R.G., S.D., Y.T., and others;

11                    b. driver’s licenses issued to C.B., D.C., J.S., K.A., K.J., M.E.G., M.R.G.,

12                         S.D., Y.T., and others; and

13             2. any and all fraudulent access devices including, but not limited to at least:

14                    a. EBP card #0420 issued to M.E.G.;

15                    b. EBP card #0899 issued to D.C.;

16                    c. EBP card #3080 issued to K.J.;

17                    d. EBP card #4395 issued to Y.T.;

18                    e. EBP card #6546 issued to J.S.;

19                    f. EBP card #7793 issued to S.D.

20   (all of which constitutes property)

21             and an in personam criminal forfeiture money judgment of $175,622, and that the

22   property will not be applied toward the payment of the money judgment.

23             This Court finds that on the government’s motion, the Court may at any time enter

24   an order of forfeiture or amend an existing order of forfeiture to include subsequently

25   located property or substitute property pursuant to Fed. R. Crim. P. 32.2(e) and

26   32.2(b)(2)(C).

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 1            The in personam criminal forfeiture money judgment complies with Honeycutt v.

 2   United States, 137 S. Ct. 1626 (2017) and United States v. Thompson, 990 F.3d 680 (9th Cir.

 3   2021).

 4            This Court finds the United States of America is now entitled to, and should, reduce

 5   the aforementioned property to the possession of the United States of America.

 6            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

 7   DECREED that the United States of America should seize the aforementioned property.

 8            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the United

 9   States of America recover from Danielle Lacharis Buck, aka Danielle Lacharis Lakey, an in

10   personam criminal forfeiture money judgment of $175,622.

11            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all possessory

12   rights, ownership rights, and all rights, titles, and interests of Danielle Lacharis Buck, aka

13   Danielle Lacharis Lakey, in the aforementioned property are forfeited and are vested in the

14   United States of America and shall be safely held by the United States of America until

15   further order of the Court.

16            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States

17   of America shall publish for at least thirty (30) consecutive days on the official internet

18   government forfeiture website, www.forfeiture.gov, notice of this Order, which shall

19   describe the forfeited property, state the time under the applicable statute when a petition

20   contesting the forfeiture must be filed, and state the name and contact information for the

21   government attorney to be served with the petition, pursuant to Fed. R. Crim. P. 32.2(b)(6)

22   and 21 U.S.C. § 853(n)(2).

23            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual

24   or entity who claims an interest in the aforementioned property must file a petition for a

25   hearing to adjudicate the validity of the petitioner’s alleged interest in the property, which

26   petition shall be signed by the petitioner under penalty of perjury pursuant to 21 U.S.C §

27   853(n)(3) and 28 U.S.C. § 1746, and shall set forth the nature and extent of the petitioner’s

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                                                     3
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 1   right, title, or interest in the forfeited property and any additional facts supporting the

 2   petitioner’s petition and the relief sought.

 3          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any,

 4   must be filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas,

 5   Nevada 89101, no later than thirty (30) days after the notice is sent or, if direct notice was

 6   not sent, no later than sixty (60) days after the first day of the publication on the official

 7   internet government forfeiture site, www.forfeiture.gov.

 8          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the

 9   petition, if any, shall be served upon the Asset Forfeiture Attorney of the United States

10   Attorney’s Office at the following address at the time of filing:

11                  Daniel D. Hollingsworth
                    Assistant United States Attorney
12                  James A. Blum
                    Assistant United States Attorney
13                  501 Las Vegas Boulevard South, Suite 1100
                    Las Vegas, Nevada 89101.
14

15          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice

16   described herein need not be published in the event a Declaration of Forfeiture is issued by

17   the appropriate agency following publication of notice of seizure and intent to

18   administratively forfeit the above-described property.

19          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

20   copies of this Order to all counsel of record and three certified copies to the United States

21   Attorney’s Office, Attention Asset Forfeiture Unit.

22          DATED November 9, 2021.

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25                                                  KENT J. DAWSON
                                                    UNITED STATES DISTRICT JUDGE
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